

Matter of Onealyah M. v Michael G.E. (2024 NY Slip Op 00741)





Matter of Onealyah M. v Michael G.E.


2024 NY Slip Op 00741


Decided on February 13, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 13, 2024

Before: Webber, J.P., Singh, Kennedy, Scarpulla, Rosado, JJ. 


Docket No. O-00825/22 Appeal No. 1633 Case No. 2022-02312 

[*1]In the Matter of Onealyah M., Petitioner-Appellant,
vMichael G.E., Respondent-Respondent.


Rhea G. Friedman, New York, for appellant.



Order of fact-finding and disposition (one paper), Family Court, New York County (Hasa A. Kingo, J.), entered on or about March 29, 2022, which, to the extent appealed from as limited by the briefs, after fact-finding and dispositional hearings, determined that petitioner was not entitled to restitution, unanimously affirmed, without costs.
Petitioner failed to sustain her burden of demonstrating entitlement to restitution by offering any competent evidence that her eye condition was caused by the respondent's conduct between 2012 and 2014, that treatment was required and the cost thereof (compare Matter of Victoria C. v Higinio C., 1 AD3d 173, 174 [1st Dept 2003]; see Family Court Act § 834). Petitioner waived any complaint about the manner in which the hearing was conducted by willingly participating in the hearing without objection (see Matter of Tonya B. v Matthew B., 90 AD3d 463, 463-464 [1st Dept 2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 13, 2024








